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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 EDWARD HYDEN, Individually and on                )
 Behalf of All Others Similarly Situated,         )
                                                  )
                        Plaintiff,                )
                                                  )    Case No.
         v.                                       )
                                                  )    CLASS ACTION COMPLAINT FOR
 INTRAWEST RESORTS HOLDINGS,                      )    VIOLATIONS OF SECTIONS 14(a) AND
 INC., WESLEY R. EDENS, THOMAS F.                 )    20(a) OF THE SECURITIES
 MARANO, RICHARD ARMSTRONG,                       )    EXCHANGE ACT OF 1934
 WILLIAM J. CLIFFORD, RICHARD E.                  )
 GEORGI, JOHN W. HARRIS III, AND                  )    JURY TRIAL DEMANDED
 TIMOTHY JAY,                                     )
                                                  )
                        Defendants.               )




       Plaintiff Edward Hyden (“Plaintiff”), by his undersigned attorneys, alleges upon personal

knowledge with respect to himself, and upon information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                     NATURE OF THE ACTION

       1.      This action is brought as a class action by Plaintiff on behalf of himself and the

other public holders of the common stock of Intrawest Resorts Holdings, Inc. (“Intrawest” or the

“Company”) against the Company and the members of the Company’s board of directors

(collectively, the “Board” or “Individual Defendants,” and, together with Intrawest, the

“Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), SEC Rule 14a-9, 17 C.F.R. 240.14a-9,

and Regulation G, 17 C.F.R. § 244.100, in connection with the proposed merger (the “Proposed

Merger”) between Hawk Holding Company, LLC, a Delaware limited liability company

(“Parent”), Hawk Holding Company, Inc., a Delaware corporation (“Holding Company”), and

Hawk Merger Sub, Inc., a Delaware corporation and a wholly owned subsidiary of Parent (the


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“Merger Sub” and together with Parent and Holding Company “HHC”).

       2.      On April 7, 2017, the Board caused the Company to enter into an agreement and

plan of merger (“Merger Agreement”), pursuant to which the Company’s stockholders stand to

receive $23.75 in cash for each share of Intrawest common stock they own (the “Merger

Consideration”).

       3.      On April 8, 2017, following the execution of the Merger Agreement, Fortress

Investment Group LLC (“Fortress”), which on such date beneficially owned 27,038,250 shares of

Company Common Stock representing approximately 67.9% of the 39,822,611 outstanding shares

of Company Common Stock, delivered a written consent adopting and approving in all respects

the Merger Agreement (the “Stockholder Consent”). As a result, no further action by any

stockholder of the Company is required under applicable Delaware law or the Merger Agreement

to adopt the Merger Agreement, and the Company will not be soliciting any votes for adoption of

the Merger Agreement and will not call a stockholder meeting for purposes of voting on the

adoption of the Merger Agreement. Notwithstanding the Stockholder consent, the Company

stockholders are entitled to exercise their appraisal rights.

       4.      On May 22, 2017, the Board authorized the filing of a materially incomplete and

misleading Definitive Information Statement (the “Information Statement”) with the Securities

and Exchange Commission (“SEC”), in violation of Sections 14(a) and 20(a) of the Exchange Act,

which inhibits the Company stockholders from being able to exercise their appraisal rights on an

informed manner.

       5.      While Defendants are touting the fairness of the Merger Consideration to the

Company’s stockholders in the Information Statement, they have failed to disclose certain material

information that is necessary for stockholders to properly assess the fairness of the Proposed




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Merger, thereby rendering certain statements in the Information Statement incomplete and

misleading.

       6.      In particular, the Information Statement contains materially incomplete and

misleading information concerning: (i) financial projections for the Company; and (ii) the

valuation analyses performed by the Company’s financial advisors, Deutsche Bank Securities Inc.

(“Deutsche Bank”) and Moelis & Company LLC (“Moelis”), in support of their fairness opinions.

       7.      Stockholders only have 20 days from the filing of the Information Statement to

submit a written demand for appraisal. If stockholders do not decide by June 12, 2017, they will

lose all appraisal rights. Therefore, it is imperative that the material information that has been

omitted from the Information Statement is disclosed to the Company’s stockholders immediately,

so that they can properly exercise their corporate suffrage rights.

       8.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act, Rule 14a-9, and

Regulation G, 17 C.F.R. § 244.100. Plaintiff seeks to enjoin Defendants from consummating the

Proposed Merger by the set deadline on June 12, 2017.

                                     JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act.

       10.     Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under




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traditional notions of fair play and substantial justice.

        11.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue took place and had an

effect in this District; (ii) Intrawest maintains its primary place of business in this District; (iii) a

substantial portion of the transactions and wrongs complained of herein, including Defendants’

primary participation in the wrongful acts detailed herein, occurred in this District; and (iv)

Defendants have received substantial compensation in this District by doing business here and

engaging in numerous activities that had an effect in this District.

                                                  PARTIES

        12.     Plaintiff is, and at all relevant times has been, an Intrawest stockholder.

        13.     Defendant Intrawest is a Delaware company and maintains its headquarters at 1621

18th Street, Suite 300 Denver, CO 80202. is a North American mountain resort and adventure

company, delivering distinctive vacation and travel experiences to its customers for over three

decades. The Company wholly owns and/or operates six four-season mountain resorts with

approximately 8,000 skiable acres and over 1,100 acres of land available for real estate

development. Intrawest’s mountain resorts are geographically diversified across most of North

America’s major ski regions, including the Eastern United States, the Rocky Mountains, and

Canada. The Company also operates an adventure travel business, the cornerstone of which is

Canadian Mountain Holidays (“CMH”), a leading heli-skiing adventure company in North

America. Intrawest’s common stock trades on the NYSE under the ticker symbol “SNOW”.

        14.     Individual Defendant Wesley R. Edens is a director of Intrawest and is the

Chairman of the Board. Mr. Edens is also the founding principal and Co-Chairman of the board of




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directors of Fortress, whose 67.9% ownership of common stock provided Stockholder Consent for

the Merger.

       15.     Individual Defendant Thomas F. Marano is a director of Intrawest and is the Chief

Executive Officer.

       16.     Individual Defendant Richard Armstrong is, and has been at all relevant times, a

director of the Company.

       17.     Individual Defendant William J. Clifford is, and has been at all relevant times, a

director of the Company.

       18.     Individual Defendant Richard E. Georgi is, and has been at all relevant times, a

director of the Company.

       19.     Individual Defendant John W. Harris III is, and has been at all relevant times, a

director of the Company.

       20.     Individual Defendant Timothy Jay is, and has been at all relevant times, a director

of the Company.

       21.     All parties identified in paragraphs 14 through 20 are collectively referred to herein

as the “Individual Defendants.”

                              CLASS ACTION ALLEGATIONS

       22.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of himself

and the other public stockholders of Intrawest (the “Class”). Excluded from the Class are

Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

with any Defendant.

       23.     This action is properly maintainable as a class action because:

               a.      The Class is so numerous that joinder of all members is impracticable. As




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      of May 1, 2017, there were approximately 39,822,611 shares of Intrawest common stock

      outstanding, held by hundreds to thousands of individuals and entities scattered throughout

      the country. The actual number of public stockholders of Intrawest will be ascertained

      through discovery;

              b.      There are questions of law and fact that are common to the Class that

      predominate over any questions affecting only individual members, including the

      following:

                      i)        whether Defendants have misrepresented or omitted material

                                information concerning the Proposed Merger in the Information

                                Statement in violation of Section 14(a) of the Exchange Act;

                      ii)       whether the Individual Defendants have violated Section 20(a) of

                                the Exchange Act; and

                      iii)      whether Plaintiff and other members of the Class will suffer

                                irreparable harm if compelled to submit for an appraisal of the

                                Proposed Merger based on the materially incomplete and misleading

                                Information Statement.

              c.      Plaintiff is an adequate representative of the Class, has retained competent

      counsel experienced in litigation of this nature, and will fairly and adequately protect the

      interests of the Class;

              d.      Plaintiff’s claims are typical of the claims of the other members of the Class

      and Plaintiff does not have any interests adverse to the Class;

              e.      The prosecution of separate actions by individual members of the Class

      would create a risk of inconsistent or varying adjudications with respect to individual




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       members of the Class, which would establish incompatible standards of conduct for the

       party opposing the Class;

               f.     Defendants have acted on grounds generally applicable to the Class with

       respect to the matters complained of herein, thereby making appropriate the relief sought

       herein with respect to the Class as a whole; and

               g.     A class action is superior to other available methods for fairly and

       efficiently adjudicating the controversy.

                              SUBSTANTIVE ALLEGATIONS

I.     The Merger Consideration Appears to be Inadequate in Light of Intrawest’s Recent
       Financial Performance

       24.     Intrawest, incorporated on August 30, 2013, is a mountain resort, adventure and

real estate company. The Company operates through three segments: Mountain, Adventure and

Real Estate. The Company owns and operates six four-season mountain resorts geographically

diversified across North America's ski regions with approximately 8,000 skiable acres and over

1,120 acres of land available for real estate development.

       25.     The Merger Consideration appears inadequate in light of the Company’s recent

financial performance. On May 4, 2017, the Company announced positive financial results for the

fiscal quarter ending March 31, 2017. Consolidated revenue increased 6.1% and Adjusted

EBITDA increased 9.7%. CEO Tom Marano announced, “Third quarter results reflect our

continued focus on growing pre-committed revenue streams, increases in yields, our ability to

manage costs, and the impact of our growth capital investments.”

       26.     Indeed, at the time of the Merger Agreement on April 7, 2107, the stock was trading

at a premium to the Merger Consideration, $25.50 to $23.75. That means instead of stockholders

receiving a premium for their shares, as is customary in merger situations, Intrawest stockholders



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would actually be offering their shares at a discount.

       27.     The April 7 price of $25.50 marks a nearly 200% increase in Intrawest stock value

that occurred in the year leading up to the merger, as reflected in the chart below:




       28.     Since the announcement of the Merger, the stock price has fallen sharply to $23.60,

$0.15 below the Merger Consideration, and has remained, within a few cents, since.

       29.     In sum, it appears that the Merger Consideration fails to adequately compensate

Intrawest stockholders, and is the result of a flawed sales process during which Company



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management and the Board failed to conduct a sufficient and robust review of strategic

alternatives. It is therefore imperative that the Company’s stockholders receive the material

information (discussed in detail below) that Defendants have omitted from the Information

Statement, which is necessary for stockholders to properly exercise their corporate suffrage rights

and make an informed decision concerning whether to submit for an appraisal of the Proposed

Merger.

II.    The Merger Agreement’s Deal Protection Provisions Deter Superior Offers

       30.     In addition to failing to conduct a fair and reasonable sales process, the Individual

Defendants agreed to certain deal protection provisions in the Merger Agreement that operate

conjunctively to deter other suitors from submitting a superior offer for Intrawest

       31.     First, the Merger Agreement contains a no solicitation provision that prohibits the

Company or the Individual Defendants from taking any affirmative action to obtain a better deal

for Intrawest stockholders. The Merger Agreement states that the Company and the Individual

Defendants shall not: (i) solicit, initiate, knowingly encourage or facilitate any inquiry, discussion,

offer or request that constitutes, or would reasonably be expected to lead to, an alternative proposal

(as used in this section, an “inquiry”); (ii) furnish non-public information regarding the Company

and the Company subsidiaries to any person in connection with an inquiry or an alternative

proposal; (iii) enter into, continue or maintain discussions or negotiations with any person with

respect to an inquiry or an alternative proposal; (iv) otherwise cooperate with or assist or

participate in or facilitate any discussions or negotiations regarding (other than to inform persons

of the no solicitation obligations or to ascertain facts or clarify terms for the sole purpose of the

Board reasonably informing itself about such alternative proposal), or furnish or cause to be

furnished to any person or group any non-public information with respect to, or take any other




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action to facilitate any inquiries or the making of any proposal that constitutes, or could be

reasonably expected to result in, an alternative proposal; (v) approve, agree to, accept, endorse,

recommend, execute or enter into any alternative proposal; (vi) submit to a vote of its stockholders,

approve, endorse or recommend any alternative proposals; (vii) effect any adverse

recommendation change; or (viii) enter into or agree to enter into any letter of intent, memorandum

of understanding, agreement in principle or merger, acquisition, confidentiality or similar

agreement contemplating or otherwise relating to any alternative proposal..

       32.     Additionally, the Merger Agreement grants HHC recurring and unlimited matching

rights, which provides it with: (i) unfettered access to confidential, non-public information about

competing proposals from third parties which it can use to prepare a matching bid; and (ii) several

days to negotiate with Intrawest, amend the terms of the Merger Agreement and make a counter-

offer in the event a superior offer is received.

       33.     The non-solicitation and matching rights provisions essentially ensure that a

superior bidder will not emerge, as any potential suitor will undoubtedly be deterred from

expending the time, cost, and effort of making a superior proposal while knowing that HHC can

easily foreclose a competing bid. As a result, these provisions unreasonably favor HHC, to the

detriment of Intrawest’s public stockholders.

       34.     Lastly, the Merger Agreement provides that Intrawest must pay HHC a termination

fee of $28,373,610 in the event the Company elects to terminate the Merger Agreement to pursue

a superior proposal. The termination fee provision further ensures that no competing offer will

emerge, as any competing bidder would have to pay a naked premium for the right to provide

Intrawest stockholders with a superior offer.

       35.     Ultimately, these preclusive deal protection provisions restrain the Company’s




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ability to solicit or engage in negotiations with any third party regarding a proposal to acquire all

or a significant interest in the Company.

       36.     Given that the preclusive deal protection provisions in the Merger Agreement

impede a superior bidder from emerging, it is imperative that Intrawest’s stockholders receive all

material information necessary for them to make a fully informed decision on whether to submit

for an appraisal of the Proposed Merger.

III.   The Materially Incomplete and Misleading Information Statement

       37.     On May 22, 2017 Defendants caused the Information Statement to be filed with the

SEC in connection with the Proposed Merger. The Individual Defendants were obligated to

carefully review the Information Statement to ensure that it did not contain any material

misrepresentations or omissions. However, the Information Statement misrepresents and/or omits

material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to submit for an appraisal of the Proposed Merger, in violation of

Sections 14(a) and 20(a) of the Exchange Act

       38.     First, the Information Statement fails to provide material information concerning

the Company’s financial projections. Specifically, the Information Statement provides projections

for non-GAAP (generally accepted accounting principles) metrics, including Adjusted EBITDA,

but fails to provide line item projections for the metrics used to calculate these non-GAAP

measures or otherwise reconcile the non-GAAP projections to the most comparable GAAP

measures.

       39.     When a company discloses non-GAAP financial measures in a proxy, the company

must also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable




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method), of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       40.     Indeed, the SEC has recently increased its scrutiny of the use of non-GAAP

financial measures in communications with stockholders. The former SEC Chairwoman, Mary Jo

White, recently stated that the frequent use by publicly traded companies of unique company-

specific non-GAAP financial measures (as Intrawest has included in the Information Statement

here), implicates the centerpiece of the SEC’s disclosures regime:

               In too many cases, the non-GAAP information, which is meant to
               supplement the GAAP information, has become the key message to
               investors, crowding out and effectively supplanting the GAAP
               presentation. Jim Schnurr, our Chief Accountant, Mark Kronforst,
               our Chief Accountant in the Division of Corporation Finance and I,
               along with other members of the staff, have spoken out frequently
               about our concerns to raise the awareness of boards, management
               and investors. And last month, the staff issued guidance addressing
               a number of troublesome practices which can make non-GAAP
               disclosures misleading: the lack of equal or greater prominence for
               GAAP measures; exclusion of normal, recurring cash operating
               expenses; individually tailored non-GAAP revenues; lack of
               consistency; cherry-picking; and the use of cash per share data. I
               strongly urge companies to carefully consider this guidance and
               revisit their approach to non-GAAP disclosures. I also urge again,
               as I did last December, that appropriate controls be considered and
               that audit committees carefully oversee their company’s use of non-
               GAAP measures and disclosures. 1

       41.      In recent months, the SEC has repeatedly emphasized that disclosure of non-

GAAP projections can be inherently misleading, and has therefore heightened its scrutiny of the




1
  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html.




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use of such projections. 2 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance

released new and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of

non-GAAP financial measures that demonstrate the SEC’s tightening policy. 3 One of the new

C&DIs regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       42.     In order to make the projections included on page 47 of the Information Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the non-

GAAP measures to the most comparable GAAP measures.

       43.     At the very least, the Company must disclose the line item projections for the

financial metrics that were used to calculated the non-GAAP measures, such as Adjusted EBITDA

(i.e., net income excluding net interest expense, income tax expense, depreciation and

amortization). Such projections are necessary to make the non-GAAP projections included in the

Information Statement not misleading.

       44.     Intrawest regularly reconciles non-GAAP financial measures, including Adjusted

EBITDA, to GAAP net income in their annual and quarterly financial reports submitted to the SEC

(forms 10-K and 10-Q respectively). In fact, the Company has performed line item GAAP

reconciliations in every 10-K or 10-Q they have ever filed with the SEC. Below is an excerpt from




2
 See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s Evolving
Views, Harvard Law School Forum on Corporate Governance and Financial Regulation (June 24,
2016),         https://corpgov.law.harvard.edu/2016/06/24/non-gaap-financial-measures-the-secs-
evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping Companies Spin Losses Into
Profits,       N.Y.        Times,      Apr.       22,      2016,      http://www.nytimes.com/
2016/04/24/business/fantasy-math-is-helping-companies-spin-losses-into-profits.html?_r=0.
3
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES AND
EXCHANGE                COMMISSION                 (May            17,              2017),
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.



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their most recent 10-Q filed on May 4, 2017:




       45.     With respect to Deutsche Bank’s Discounted Cash Flow Analysis, the Information

Statement fails to disclose the following key components used in their analysis: (i) the inputs and

assumptions underlying the calculation of the discount rate range of 9.5% to 11.25%; (ii) the

Terminal Value of the company; (iii) the inputs and assumptions underlying the calculation of the

perpetuity growth rate range of 1.5% to 2.5%; and (iv) the value of unlevered tax savings from the

Company’s United States and Canadian net operating loss carryforwards.

       46.     With respect to Moelis’ Discounted Cash Flow Analysis, the Information Statement

fails to disclose the following key components used in their analysis: (i) the inputs and assumptions

underlying the calculation of the discount rate range of 9.2% to 11.3%; (ii) the estimated terminal

values of the company; and (iii) the inputs and assumptions underlying the calculation of the

perpetuity growth rate range of 1.0% to 3.0%;




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       47.     These key inputs are material to Intrawest stockholders, and their omission renders

the summary of Deutsche Bank’s Discounted Cash Flow Analysis on page 34 of the Information

Statement and Moelis’ Discounted Cash Flow Analysis on pages 42-44 of the Information

Statement incomplete and misleading. As a highly-respected professor explained in one of the

most thorough law review articles regarding the fundamental flaws with the valuation analyses

bankers perform in support of fairness opinions, in a discounted cash flow analysis a banker takes

management’s forecasts, and then makes several key choices “each of which can significantly

affect the final valuation.” Steven M. Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576

(2006). Such choices include “the appropriate discount rate, and the terminal value…” Id. As

Professor Davidoff explains:

               There is substantial leeway to determine each of these, and any
               change can markedly affect the discounted cash flow value. For
               example, a change in the discount rate by one percent on a
               stream of cash flows in the billions of dollars can change the
               discounted cash flow value by tens if not hundreds of millions of
               dollars….This issue arises not only with a discounted cash flow
               analysis, but with each of the other valuation techniques. This
               dazzling variability makes it difficult to rely, compare, or
               analyze the valuations underlying a fairness opinion unless full
               disclosure is made of the various inputs in the valuation process,
               the weight assigned for each, and the rationale underlying these
               choices. The substantial discretion and lack of guidelines and
               standards also makes the process vulnerable to manipulation to
               arrive at the “right” answer for fairness. This raises a further
               dilemma in light of the conflicted nature of the investment banks
               who often provide these opinions. Id. at 1577-78.

       48.     In sum, the omission of the above-referenced information renders statements in the

Information Statement materially incomplete and misleading in contravention of the Exchange

Act. Absent disclosure of the foregoing material information sufficiently prior to the set deadline

of June 12, 2017, Plaintiff and the other members of the Class will be unable to make a fully-

informed decision regarding whether to exercise their appraisal rights in the Proposed Merger, and



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they are thus threatened with irreparable harm, warranting the injunctive relief sought herein.

                                                 COUNT I

(Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9
                   and 17 C.F.R. § 244.100 Promulgated Thereunder)

          49.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          50.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          51.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          52.   SEC Regulation G has two requirements: (1) a general disclosure requirement; and

(2) a reconciliation requirement. The general disclosure requirement prohibits “mak[ing] public a

non-GAAP financial measure that, taken together with the information accompanying that

measure, contains an untrue statement of a material fact or omits to state a material fact necessary

in order to make the presentation of the non-GAAP financial measure…not misleading.” 17

C.F.R. § 244.100(b). The reconciliation requirement requires an issuer that chooses to disclose a




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non-GAAP measure to provide a presentation of the “most directly comparable” GAAP measure,

and a reconciliation “by schedule or other clearly understandable method” of the non-GAAP

measure to the “most directly comparable” GAAP measure. 17 C.F.R. § 244.100(a). As set forth

above, the Information Statement omits information required by SEC Regulation G, 17 C.F.R. §

244.100.

       53.     The omission of information from an Information Statement statement will violate

Section 14(a) and Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted

information.

       54.     Each of the Defendants reviewed and authorized the dissemination of the

Information Statement, which fails to provide critical information regarding, amongst other things:

(i) financial projections for the Company; and (ii) the valuation analyses performed by the

Company’s financial advisors, Deutsche Bank Securities Inc. (“Deutsche Bank”) and Moelis &

Company LLC (“Moelis”), in support of their fairness opinions.

       55.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Information Statement, but nonetheless failed to obtain and disclose

such information to stockholders although they could have done so without extraordinary effort.

       56.     The Individual Defendants knew or were negligent in not knowing that the

Information Statement is materially misleading and omits material facts that are necessary to

render it not misleading. The Individual Defendants undoubtedly reviewed and relied upon the




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omitted information identified above in connection with their decision to approve the Proposed

Merger; indeed, the Information Statement states that Deutsche Bank and Moelis reviewed and

discussed their financial analyses with the Board, and further states that the Board considered both

the financial analyses provided by Deutsche Bank and Moelis as well as its fairness opinion and

the assumptions made and matters considered in connection therewith. Further, the Individual

Defendants were privy to and had knowledge of the projections for the Company.

       57.     The Individual Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Information Statement, rendering the

sections of the Information Statement identified above to be materially incomplete and misleading.

Indeed, the Individual Defendants were required to review Deutsche Bank’s and Moelis’ analyses

in connection with their receipt of the fairness opinions, question Deutsche Bank and Moelis as to

its derivation of fairness, and be particularly attentive to the procedures followed in preparing the

Information Statement and review it carefully before it was disseminated, to corroborate that there

are no material misstatements or omissions.

       58.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Information Statement. The preparation of an Information Statement by corporate

insiders containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Individual Defendants were negligent in choosing to omit material information

from the Information Statement or failing to notice the material omissions in the Information

Statement upon reviewing it, which they were required to do carefully as the Company’s directors.

Indeed, the Individual Defendants were intricately involved in the process leading up to the signing

of the Merger Agreement and the preparation of the Company’s financial projections.

       59.     Intrawest is also deemed negligent as a result of the Individual Defendants’




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negligence in preparing and reviewing the Information Statement.

          60.   The misrepresentations and omissions in the Information Statement are material to

Plaintiff and the Class, who will be deprived of their right to make an informed decision on whether

to submit for an appraisal of the Proposed Merger if such misrepresentations and omissions are

not corrected sufficiently prior to the June 12, 2017 deadline.

          61.   Plaintiff and the Class have no adequate remedy at law. Only through the exercise

of this Court’s equitable powers can Plaintiff and the Class be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.

                                                 COUNT II

  (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          62.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          63.   The Individual Defendants acted as controlling persons of Intrawest within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Intrawest, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Information Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          64.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Information Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance




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of the statements or cause the statements to be corrected.

       65.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Information Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed Merger.

They were thus directly involved in preparing this document.

       66.     In addition, as the Information Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Information Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       67.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       68.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff and the Class will be irreparably harmed.

       69.     Plaintiff and the Class have no adequate remedy at law. Only through the exercise

of this Court’s equitable powers can Plaintiff and the Class be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class Representative and his counsel as Class Counsel;

       B.      Enjoining Defendants and all persons acting in concert with them from

consummating the Proposed Merger, unless and until the Company discloses the material

information discussed above which has been omitted from the Information Statement;

       C.      Directing the Defendants to account to Plaintiff and the Class for all damages

sustained as a result of their wrongdoing;

       D.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses;

       E.      Granting such other and further relief as this Court may deem just and proper.

                                             JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

 Dated: June 2, 2017                               Respectfully submitted,
 OF COUNSEL                                         MONTEVERDE & ASSOCIATES PC
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